                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:07cr215

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                     ORDER
                                         )
MEGAN GLENNIE (1)                        )
MICHAEL GLENNIE (2)                      )
________________________________________ )


       THIS MATTER is before the Court upon motions of the defendants for permission to

reside at 40 Barker Street, Apartment C, Buffalo, New York 14209, pending designation by the

Bureau of Prisons to serve their sentences. (Doc. Nos. 38, 39). The U.S. Probation Office does

not oppose the request.

       For the reasons stated in the motion, the Court finds good cause to allow the modification

of the defendants’ release conditions.

       IT IS, THEREFORE, ORDERED that the defendants’ motions are GRANTED and the

defendants may reside at the above referenced address. All other conditions remain unchanged,

and the defendants shall be responsible for travel back to this district, if required.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation office.
                                                    Signed: February 8, 2008




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